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                            IN THE UNITED STATES DISTRICT COURT
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                                FOR THE DISTRICT OF ARIZONA
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     Todd Miller, et al.,                                    CV 21-00004-TUC-JGZ
11
                            Plaintiffs,                     ORDER OF DISMISSAL
12                                                           WITH PREJUDICE
            vs.
13
14   United States of America,
15                          Defendant.
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            Based on the Stipulation of the parties, and good cause appearing therefore,
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            IT IS ORDERED that this matter is DISMISSED with prejudice, with each party
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     to bear its own attorneys’ fees, costs and expenses.
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